          Case 2:22-cv-00068-SMB Document 14 Filed 04/28/22 Page 1 of 2



 1
 2
 3
 4
 5
 6                          IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Trevor Reid, et al.,                             No. CV-22-00068-PHX-SMB
10                  Plaintiffs,                       ORDER
11   v.
12   United States Department of Interior, et al.,
13                  Defendants.
14
15
16            The Court has considered the Motions to Allow Electronic Filing by a Party
17   Appearing without an Attorney and Supporting Information (Docs. 12 and 13).
18            IT IS ORDERED granting the Motions.
19            IT IS FURTHER ORDERED that Plaintiffs are required to comply with all rules
20   outlined in the District of Arizona’s Case Management/Electronic Case Filing
21   Administrative Policies and Procedures Manual, have access to the required equipment
22   and software, have a personal electronic mailbox of sufficient capacity to send and
23   receive electronic notice of case related transmissions, be able to electronically transmit
24   documents to the court in .pdf format, complete the form to register as a user with the
25   Clerk’s Office within five days of the date of this Order, register as a subscriber to
26   PACER (Public Access to Electronic Records) within five days of the date of this Order
27   and comply with the privacy policy of the Judicial Conference of the United States and
28   the E-Government Act of 2002. Any misuse of the ECF system will result in immediate
      Case 2:22-cv-00068-SMB Document 14 Filed 04/28/22 Page 2 of 2



 1   discontinuation of this privilege and disabling of the password assigned to the party.
 2          Dated this 28th day of April, 2022.
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                  -2-
